




Dismissed and Memorandum Opinion filed August 16, 2007








Dismissed
and Memorandum Opinion filed August 16, 2007.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00492-CV

____________

&nbsp;

KENNETH L. SCURRY,
Appellant

&nbsp;

V.

&nbsp;

VICKEY E. WHITE,
Appellee

&nbsp;



&nbsp;

On Appeal from County Civil Court
at Law No. 3

Harris County, Texas

Trial Court Cause No.
887190

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; &nbsp;O P I N I O N

This is
an appeal from a judgment signed June 4, 2007.&nbsp; The notice of appeal was filed
on June 4, 2007.&nbsp; To date, our records show that appellant has neither
established indigence nor paid the $125.00 appellate filing fee.&nbsp; See Tex. R. App. P. 5 (requiring payment
of fees in civil cases unless indigent);Tex. R. App. P. 20.1
(listing
requirements for establishing indigence); see also Order Regarding Fees
Charged in Civil Cases in the Supreme Court and the Courts of Appeals, Misc.
Docket No. 98-9120 (Tex. Jul. 21, 1998) (listing fees in court of appeals); Tex. Gov=t Code Ann. ' 51.207 (Vernon
2005) (same). 








After being given the requisite ten-days= notice that this
appeal was subject to dismissal, appellant did not respond.&nbsp; See Tex. R. App. P. 42.3.&nbsp; Accordingly, the appeal is ordered
dismissed.&nbsp; See Tex. R. App. P. 42.3(c)
(allowing
involuntary dismissal of case because
appellant has failed to comply with notice from clerk requiring response or
other action within specified time).&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Judgment rendered and Memorandum Opinion filed August
16, 2007.

Panel consists of Chief Justice Hedges, Justices Yates
and Frost.

&nbsp;





